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14
15                            UNITED STATES DISTRICT COURT
16                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                            Case No. 3:19-cv-01537-BEN-JLB
18
19                     Plaintiffs,                    Hon. Roger T. Benitez Magistrate
                                                      Hon. Jill L. Burkhardt
20
          vs.                                         DECLARATION OF ASHLEY
21
                                                      HLEBINSKY IN SUPPORT OF
22 XAVIER BECERRA, in his official                    PLAINTIFFS’ MOTION FOR
   capacity as Attorney General of                    PRELIMINARY INJUNCTION
23 California, et al.,
24                                                    Complaint filed:August 15, 2019
                       Defendants.                    Amended Complaint filed:
25
                                                      September 27, 2019
26
27                                                    Hearing Date: January 16, 2020
                                                      Time: 10:00 a.m.
28                                                    Courtroom: 5A, 5th Floor

                   DECLARATION OF ASHLEY HLEBINSKY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1                      DECLARATION OF ASHLEY HLEBINSKY
 2 I, Ashley Hlebinsky, declare as follows:
 3      1. I am the Robert W. Woodruff Curator of the Cody Firearms Museum as well as a
 4 firearms and ammunition related museum consultant, expert witness, freelance writer,
 5
   guest lecturer, and founder of the newly formed Association of Firearms History and
 6
   Museums. I have been retained by the plaintiffs in this matter to provide historical
 7
   testimony regarding the lineages of several key technologies listed in the California
 8
 9 Penal Code 30515 to highlight that many of these features were developed over a
10 century ago and have seen “common use” and are “not dangerous or unusual.” I have
11 personal knowledge of the facts stated herein, and if called as a witness, I could
12 competently testify to these facts.
13      2. This declaration is executed in support of plaintiffs’ motion for the issuance of a
14
     preliminary injunction, made pursuant to FRCP 65.
15
                          QUALIFICATIONS AND EXPERIENCE
16
        3. I am the Robert W. Woodruff Curator of the Cody Firearms Museum at the
17
     Buffalo Bill Center of the West. At the museum, I manage an encyclopedic collection
18
     of around 7,000 firearms. Prior to my work at the Buffalo Bill Center of the West, I
19
20 researched in the Smithsonian Institution’s National Firearms Collection for about three
21 years. During this time, I studied firearms from the 1200s through modern day. I not
22 only studied the evolution of firearms technology but completed work on the United
23 States Patent Office Collection. I also worked as a liaison between the Smithsonian
24 Institution and the Buffalo Bill Center of the West, helping to facilitate the loan of
25
   64 firearms from the Smithsonian collection to the Center. A large portion of that loan
26
   and subsequent loans thereafter centered around the Patent Collection and early
27
   evolution of firearms technologies. In addition to my work with the National Firearms
28
                                                    -1-
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 1 Collection, I earned Bachelor’s and Master’s degrees in American History, with a
 2 certification in Museum Studies, focusing my research towards the latter half of my
 3 degree on a macro historical approach to studying how advancement of firearms
 4
   technology affected industry, society, and culture as well as the perception of those
 5
   firearms within a given culture. During my time in graduate school, I was awarded the
 6
   Edward Ezell Firearms Fellowship from the University of Delaware, which allowed me
 7
   to complete my research on the Smithsonian collection. Additionally, I was a teaching
 8
 9 assistant in a military history survey course. During this survey, I taught the firearms
10 portion of the class. I am an NRA Certified Firearms Instructor, in Basic Pistol and
11 Personal Protection Inside the Home. I simultaneously earned my Well Armed Woman
12 Instructor Certification. At the museum, I have been responsible for the education of
13 hundreds of students from elementary through college levels, where we teach not only
14
     firearms safety and basics, but the historical and technical evolution of the firearm.
15
     Additionally, I served as the Project Director on a $12.9 million full scale renovation
16
     and reimagining of the Cody Firearms Museum, which reopened July 6, 2019. I was
17
18 responsible for all aspects of the renovation from fundraising to content. As a museum
19 consultant, under a single member LLC (The Gun Code), I conduct workshops on
20 firearms collections, survey collections and curate exhibitions at institutions such as the
21 Houston Museum of Natural Science, the Winchester Mystery House, CM Russell
22 Museum & Complex, the Mob Museum, and the Adirondack Experience (November
23
   2019.) I am also a freelance firearms writer, guest lecturer, on-camera firearms
24
   historian, and firearms related television producer.
25
      4. I have also made contributions to the academic study of firearms. In 2017,
26
27 I developed the first full scale symposium in the United States dedicated to the study of
28 firearms as material culture. That symposium has grown and is carried out annually. In
                                                    -2-
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 1 October 2018, I also founded an academic association in the US for the study of
 2 firearms (Association of Firearms History and Museums) which is still in its early
 3 stages of development. A current copy of my Curriculum Vitae summarizing my
 4
   education and experience is attached as Exhibit 1.
 5
                      PRIOR EXPERT WITNESS TESTIMONY
 6
      5. Because my research covers centuries of firearms and ammunition development,
 7
 8 I have a large breadth of topics related to the subject matter on which I can testify.
 9 I have served as an expert witness in the following matters:
10           Shannon Wayne Garrison, et al v Sturm, Ruger & Company, Inc.
11           Report written November 2017
             Deposition Testimony, Chicago, IL November 27, 2017
12
13           Regina v Carvel Clayton
             Halifax, Nova Scotia
14           Report written December 2017
15
                                          SCOPE OF WORK
16
        6. This declaration will provide some historical background on many of the firearms
17
     and firearms related technologies outlined in California Penal Code 30515 as attributed
18
     to the term “assault weapon.” It should be noted that the term “assault weapon” in and
19
     of itself is a legislative term in which the definition changes depending on state and
20
21 federal legislation and bills proposed. The Cody Firearms Museum typically defines
22 assault weapon as, “a legislative catch-all term used in the 1994 assault weapons ban
23 and since has had differing definitions in proposed legislation typically centered around
24 largely cosmetic features of semi-automatic firearms.” This declaration will look briefly
25 at the origins or early appearances of these technologies throughout history not only for
26
     battlefield use but in the civilian sphere. The opinions expressed in this declaration are
27
     mine, and are not reflective of any position of the Cody Firearms Museum.
28
                                                     -3-
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 1         7. It is important to note from an overall historical perspective, early firearms
 2 technology was often driven by war. Once that technology was developed, inventors
 3 and designers pushed the boundaries of firearms technology. For example, the first
 4
   handheld portable gun, or firearm, was known as a handcannon or handgonne, which
 5
   appeared on the battlefield in the 1200s. The ignition system was basic, utilizing a
 6
   touchhole and external fire source to ignite powder and fire the gun. While many
 7
   examples were single shot, some handcannons were developed with multiple barrels to
 8
 9 have a repeating function. An example of a handcannon, and a multiple barrel version,
10 are attached hereto as Exhibit 2.1
11         8. Often the technology advanced too quickly and would go beyond common
12 battlefield use, finding popularity in the civilian population. Military firearms in a
13 general sense were limited by tactics and government bureaucracy while civilian arms
14
     until recently were predominantly limited by individual budget. Additionally, civilian
15
     arms could be applied in a far greater variety of uses (e.g., hunting, self-defense, sport).
16
     The first true ignition system, the matchlock, was developed around 1400. This firearm,
17
18 which utilized a burning match cord, was a popular military arm for centuries around
19 the world. By the turn of the 16th century, however, matchlocks and subsequent ignition
20 systems began appearing in early target shooting competitions. (Exhibit 3).
21         9. By circa 1509, a highly advanced handgun was developed – the wheel-lock.
22 (Exhibit 4). This gun, developed for horseback use, operated by the turning of a spring
23
   loaded wheel. While it saw battlefield use, it was expensive and difficult to repair. As a
24
   result, it was used for specialized purpose on the battlefield and for civilian use,
25
   especially as a sporting arm. The matchlock continued to be used on the battlefield
26
27
28   1
         All further exhibits attached to this declaration are true and correct examples of the
                                                    -4-
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 1 despite this availability of superior technology. While it may seem trivial to discuss the
 2 earliest firearms history within the context of a case on “assault weapons,” it is
 3 important 1. to identify a precedent set for why, how, and whom firearms technology
 4
   has evolved over 800 years. Since the beginning of firearm invention, while firearms
 5
   have been applied for use in war, the civilian market bore the fruits of innovation. As an
 6
   additional layer of the common interplay between military and civilian firearms,
 7
   weapons used in war were often sold on the civilian market both during and after wars’
 8
 9 end. For example, after the American Civil War, post war weapons surplus firearms
10 became available on the civilian market. Soldiers could buy their firearms for as
11 inexpensive as six dollars and many dealers and distributors sold them in their catalogs.
12 This continued in the 20th century, with firearms such as the Springfield Model 1903
13 bolt action rifle and even with semi-automatics such as the M1 Garand rifle. There has
14
     always been an eb and flow of civilian and military firearms for centuries. And 2.
15
     several features listed in Penal Code 30515 date back just about as long as some of
16
     these early firearms and firearms technology in some form or another, predating even
17
18 semi-automatic technology.
19              HISTORICAL REVIEW OF FIREARM FEATURES:
                           CAL. PENAL CODE § 30515(a)
20
21      10. There are many terms used to qualify rifles, pistols, and shotguns regulated in
22 California under this code. A few overarching categorical terms that appear across the
23 type of firearm are the terms: repeater, magazine (fixed or detachable), centerfire, and
24
   semi-automatic. Please note the following history is not comprehensive, rather serves to
25
   provide a sampling of the early appearances of each individual technology to illustrate
26
27
28 firearm/feature being referenced.
                                                    -5-
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 1 their long history of both military and civilian use and their commonality.
 2      11. To reiterate, the concept of a repeating firearm dates to the earliest technology
 3 of firearms. The idea of repeating firearms was not initially popular on the battlefield
 4
   due to cost and convenience, however, repeating firearms in the civilian market were
 5
   popular for those who could afford them. Many double barrel firearms were developed
 6
   to provide hunters with a second shot, but that repeating concept quickly moved far
 7
   beyond the California penal code’s definition of “high capacity” at ten rounds. In the
 8
 9 mid-1600s in Italy, the Lorenzoni system of firearm was developed and then imitated by
10 many designers in long gun and pistol form. (Exhibit 5). This gun was a flintlock,
11 magazine-fed repeater that fired around seven shots before having to reload. A century
12 later the, Girardoni/Girandoni (1779) air rifle (Exhibit 6) could fire about 20 rounds
13 from a tubular magazine. By the mid-1800s, many firearms both obscure and common
14
     had magazine capacities at ten or greater rounds including the 1854 patented Volcanic
15
     repeating pistols (Exhibit 7) (.31 caliber 6in barrel: 10 rounds, .41 caliber 8in barrel:
16
     10 rounds) and carbines (16in barrel: 20 rounds, 20in barrel: 25 rounds, 24in barrel:
17
18 30 rounds), the 1860 Henry rifle (Exhibit 8) (15+1 rounds), and the1853 (Belgium) and
19 1857 (US) patented Genhart Rifles (Exhibit 9) (10 rounds), as well as multiple models
20 of Winchester starting in 1866. By the end of the 19th century, the earliest versions of
21 semi-automatic pistols such as the Borchardt C-93 contained eight rounds from a
22 detachable magazine (1893) and the Mauser C-96 had a 10-round magazine (1895).
23
   Even certain Luger semi-automatic pistols in the early 1900s had the option of 32-round
24
   snail drum magazines. (Exhibit 10).
25
      12. The next major concept is the presence of a magazine, fixed or detachable.
26
27 Magazine fed firearms dates to at least the 1600s with the Lorenzoni system.
28 (Exhibit 11). The Girardoni air rifle as previously stated used a tubular magazine in the
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 1 late 1700s. The tubular magazine was first patented in the US in the 1840s, notably with
 2 the Hunt Volitional Rifle (Exhibit 12), the oldest direct ancestor to the Winchester rifle.
 3 Magazines came in many shapes and sizes and became prevalent in the mid-1800s. For
 4
   example, the Spencer repeating rifle (Exhibit 13) utilized a detachable tubular
 5
   magazine from the buttstock. In the 1850s, the Genhart turret rifle (Exhibit 14) had a
 6
   detachable circular magazine with an externally visible shot/round counter. Between
 7
   1859 and 1862, the Jarre Harmonica Pistol and Rifle received several patents. This gun
 8
 9 has a horizontally seated magazine that slides after each round is fired like a typewriter.
10 It is also detachable. (Exhibit 15).
11      13. In terms of box magazines, early ones were patented by designers including
12 Rollin White in 1855. A detachable version was patented in 1864 by Robert Wilson.
13 (Exhibit 16). A vertically stacked box magazine was patented by James Paris Lee in
14
   1879 which was applied to several rifles including the Mannlicher semi-automatic
15
   Model 1886. (Exhibit 17). In terms of other semi-automatics, the Mauser C-96 pistol
16
   had a fixed magazine and the Borchardt C-93 had a detachable one. Several
17
18 semi-automatic models of Winchester utilized magazines, including the Winchester
19 Model 1907, a centerfire rifle with various sizes of box magazine (5 and 10) and some
20 Winchester Model 1903s had a lesser known Sabo 96-round detachable tubular
21 magazine. (Exhibit 18).
22     14. The next major feature of this penal code is the term, centerfire. This term
23
   refers specifically to the type of ammunition the gun fires. Centerfire refers to the
24
   location of the priming compound. Self-contained cartridges typically consist of a case,
25
   primer, powder, and projectile. Centerfire has a separate primer in the center of the head
26
27 of the cartridge case. This is to distinguish it from rimfire, which has an integral primer
28 in the rim of the cartridge case. (Exhibit 19). Traditionally, people are most aware of
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 1 .22 caliber rimfires but there have been many larger calibers including the .44 Flat
 2 Henry Rimfire cartridge. Centerfire cartridges started in the early 1800s. In 1808, Jean
 3 Samuel Pauly invented an early form of centerfire cartridge and the true centerfire was
 4
   developed in 1829 by French inventor Clement Pottet and perfected by the 1850s.
 5
      15. Finally, the term that this Penal Code addresses most of all is semi-automatic.
 6
   Semi-automatic operation involves pressing a trigger to fire one round, eject a spent
 7
   case, and load another to be fired on the next trigger pull. (Exhibit 20). Today, a
 8
 9 majority of firearms are semi-automatic rifles, pistols, or shotguns. Semi-automatic
10 technology was developed in the 1880s around the same time as automatic technology.
11 The Mannlicher rifle is generally attributed to be the first semi-automatic rifle
12 (Exhibit 21); handguns followed shortly after. The first mass produced semi-automatic
13 pistol was the Hugo Borchardt designed C-93 with detachable 8-round magazine. The
14
   Mauser C-96 followed, as did the John Moses Browning’s Model 1899/1900 pistol.
15
   Often in the marketing of these pistols in the late 19th and 20th centuries, the companies
16
   would refer to them as “Automatic” pistols. However, please note they are still
17
18 semi-automatic in function. According to the definitions of the Gun Control Act of
19 1968, such firearms made before 1898 are not federally regulated firearms, they are
20 antiques. By that definition and regulation, some semi-automatic pistols and rifles are so
21 old, they are not legally firearms according to the federal government. In the 20th
22 century, semi-automatic firearms used in conjunction with a variety of the features
23
   listed above have been and continue to be made into thousands of models by countless
24
   companies. They are commonly used in the civilian market as well as the military,
25
   incorporating many other features addressed in the Penal Code.
26
27     16. The following is a list of additional features addressed in Penal Code § 30515:

28     17. Pistol Grip: Pistol grips appear on long arms dating to at least the 1700s.
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  1 (Exhibit 22). Single shot flintlock and later percussion pistols sometimes would have
  2 the feature of a detachable stock. When assembled these long guns would use the grip
  3 from the pistol as a maneuverable device. This trend continued with repeating arms,
  4
    including several models of Colt revolvers, in the civilian and military market. The
  5
    Borchardt semi-automatic pistol of 1893 and the Mauser C96 also had a detachable
  6
    stock option. If a user didn’t have one of these models, universal holsters to convert a
  7
    pistol to a rifle with a detachable stock existed. (Exhibit 23). On firearms without
  8
  9 detachable stocks, pistol grips appear on all variances of firearms actions. Machine
 10 guns, including the Colt Model 1895, French Chauchat (1907) and several Maxim
 11 models had pistol grips. Submachine guns like the Thompson (1918) had them as well.
 12 Pistol Grips not only appear in machine guns but also other guns, such as shotguns –the
 13 Ithaca Auto & Burglar (1922), the Harrington & Richardson Handi Gun (1921), and the
 14
      Marble Game Getter (1908) – as well as semi-automatic firearms including the
 15
      M1A1Paratrooper Carbine designed with not only a pistol grip but folding stock.
 16
      (Exhibit 24).
 17
 18      18. Forward Grips: One of the earliest forward pistol grips is found on the French

 19 Magot rifle from the 1860s. Possibly one of the only copies of this gun is in the Cody
 20 Firearms Museum as it was purchased by Winchester during their lawsuit with the
 21 company Bannerman. (Exhibit 25).
 22     19. Thumbhole Stocks: While a traditional thumbhole stock is difficult to
 23
    historically trace, their regulation has a deep impact on sporting and Olympic firearms
 24
    in the modern era. The concept of a stabilizing entity to help with maneuverability and
 25
    accuracy dates to the earliest civilian sporting arms firearms. For example,
 26
 27 Schuetzenfest, dating from the 1600s through today, had elaborate sporting rifles
 28 created with molded cheek pieces and places for the hand including palm rests - while
                                                       -9-
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  1 not technically a thumbhole, these provided the same stability for which a thumbhole is
  2 used. German Frei pistol of the 19th and 20th centuries, used handguns that were made
  3 specifically as a stabilizing placement custom for the individual athlete. (Exhibit 26).
  4
    Certain Olympic rifles feature thumbhole stocks, including several models of
  5
    Winchester, dating to the 1950s. This type of concept or technology is a very prominent
  6
    shooting sports feature. (Exhibit 27).
  7
      20.           Folding or Telescoping Stock: The Cody Firearms Museum has a
  8
      folding stock snaphaunce blunderbuss that dates to around 1650-1700.
  9
      (Exhibit 28). With early firearms, folding or adjustable stocks are not necessarily
 10
      seen because pieces in the civilian world were made by artisans prior to mass
 11
      production. However, the appearance of detachable stocks – converting a pistol to
 12
      a rifle/carbine – appear in the 1700s on flintlocks and continue to be incorporated
 13
      on percussion, revolver, and semi-automatic guns. The Luger Model 1902
 14
      semi-automatic carbine has an added stock to convert the pistol to a carbine.
 15
      (Exhibit 29). As guns begin to be mass produced on scale, various models are
 16
      often made, such as a Junior or Ladies rifle that provide a different size option for
 17
      the sport shooter. The flexibility of stock size is very strong in the civilian market
 18
      where comfort and having firearms suited for the individual are preferable and
 19
      feasible. In the early 1900s, and possibly earlier, Try Guns were carried by
 20
      salesmen to allow the consumer to adjust the stock to fit them to see what size this
 21
      person needed. Two examples in the Cody Firearms Museum collection are the
 22
      Winchester Model 12 and LC Smith Try Guns. (Exhibit 30). This lays the
 23
      foundation for a consumer market interested in customizing and adjusting their
 24
      stocks to fit them appropriately. Folding stocks do make appearances in the
 25
      military sphere with the M1A1 Paratrooper Carbine model as well as several
 26   submachine guns. (Exhibit 31).
 27
 28     21. Grenade Launcher or Flare Launcher: Grenade launchers, also known as

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  1 hand mortars, date to the 1600 and 1700s. Flare guns were in use by the 1800s.
  2      22. 30 Inches or Less: The idea behind a shorter rifle is known as a carbine. While
  3 the definition can vary, it typically refers to a barrel less than 20 inches. Additionally,
  4
    many pistols with detachable stocks fall under this category. By adding a stock to a
  5
    C-93, C-96 or Luger it converts a semi-automatic pistol into a semi-automatic rifle.
  6
       23. Flash Suppressor: Flash suppressors appear on machine guns from World War
  7
    I and earlier including the Chauchat and Maxim but technically, any gun affixed with a
  8
  9 Silencer, invented in 1902, could be considered to have a flash suppressor. Silencers
 10 were heavily marketed to the civilian population as target accessories, so this would
 11 have been available for numerous firearms models. The traditional flash hider on
 12 military arms, not classified as a machine gun, were used during WWII on guns such as
 13 the Lee-Enfield “jungle carbine” and have appeared on AR platform firearms, invented
 14
      in the1950s. (Exhibit 32).
 15
         24. Threaded Barrel: An early idea of a quick attachment system in or on a barrel
 16
      of a gun is the bayonet. Developed in the 16th century, the bayonet was commonly used
 17
 18 for both military and civilian firearms. There have been a variety of muzzle devices that
 19 have attached to a barrel since (compensators, silencers, muzzle brakes, flash hiders
 20 etc). While some early semi-automatic rifles, pistols, and shotguns had threaded barrels,
 21 the military did not always use threaded barrels for their suppressed firearms, nor did
 22 the civilian market. This is because Hiram Percy Maxim, the inventor of the Silencer,
 23
    sold his silencer often with an adapter that allowed a silencer to be affixed without a
 24
    threaded barrel, making the need for a threaded barrel or the thought that no threaded
 25
    barrel would prevent a silencer moot.
 26
 27    25. Barrel Shroud: According to the penal code, the concern for a barrel shroud is

 28 that it would prevent “burning the bearer’s hand.” While typically not thought about, by
                                                    - 11 -
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  1 that definition, any firearm with a full length stock fits the definition, like a Brown Bess
  2 or early single shot pistols. (Exhibit 33). To speak in more modern terms, target
  3 shooting pistols also tend to have a partial barrel shroud on examples such as the
  4
    Remington XP100 from the 1960s and the Browning Buckmark Silhouette.
  5
    (Exhibit 34).
  6
        26. Detachable Magazine: Although already stated, the detachable magazine was
  7
    already in use by the 1890s on semi-automatics. Many earlier firearms in the 1800s
  8
  9 such as the Spencer, Genhart, Jarre, and Lee Metford also had detachable magazines.
 10 These firearms were popular and common both on the military but also the commercial
 11 market. For example, the standard infantry arm of the American Civil War was a single
 12 shot muzzleloading musket. The repeaters that were readily available at the same time
 13 were not openly embraced by military and therefore were a popular consumer product.
 14
      In fact, the trend of the commercial market being decades ahead in innovation than the
 15
      military adopted firearms is a trend that has continued into the modern era.
 16
         27. Shotgun with a Revolving Cylinder: The earliest revolving firearms had
 17
 18 shotgun models. For example, the Collier (1814), a flintlock and later percussion
 19 revolver in which the user had to manually rotate the cylinder, had shotgun models.
 20 Samuel Colt, the creator of the modern revolver, sold revolving shotguns as early as
 21 1839, just four years after his first US patent. (Exhibit 35).
 22                                       CONCLUSION
 23      28. To reiterate, this examination of the firearms features of the California Penal
 24
      Code 30515 is not comprehensive but is meant to serve as a springboard of
 25
      understanding that these technologies, in most respects, have been used for centuries far
 26
      before the invention of Armalite’s AR-15 in the 1950s or the Kalashnikov AK-47. By
 27
      the 20th century, semi-automatic firearms with various combinations of features such as
 28
                                                     - 12 -
                     DECLARATION OF ASHLEY HLEBINSKY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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         pi tol grip , fla h hider , folding/tele coping tocks, and detachable magazines had been
      2 modified and perfected to the point of replication in hundred , po ibly thousand , of
      3 model by countle        manufacturer for both civilian and military markets. If called to
   4
         te tify, my report would go beyond the origins into the proliferation of these feature on
   5
         a modem con umer market of the 20th and 21st centuries. However, with the
   6
         determination that these features were conceptualized and in use prior to the 1950 , it is
   7
                that really one of the only major new features incorporated to the AR-15
   8 fair to ay
   9 were lightweight alloys to synthetic materials that became a popular experimentation
  10 acros all firearm platforms after World War II as history provides many examples of
  11     these features being u ed in conjunction with semi-automatic firearms in a number of
  12 configurations for near! y a century.
  13
           I declare under penalty of perjury that the foregoing is true and correct. Executed on
  14
        December lt_, 2019.
  15
  16
  17
  18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
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                 version
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  9              A German parcel-gilt silver target shooting prize,
                 Dresden, dated 1537, unmarked
 10
          4      Picture of wheel-lock handgun, circa 1509                             0018-0019
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 12       5      Pictures of the Lorenzoni system of firearm in long                   0020-0021
                 gun and pistol form
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          6      Picture of Girardoni/Girandoni air rifle, 1779                        0022-0023
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          8      Picture of the 1860 Henry rifle (15+ rounds)                          0026-0027
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 18              patented Genhart rifles (10 rounds)
 19      10      Pictures of the Borchardt C-93 semi-automatic                         0030-0032
 20              pistol with detachable magazine (1893); the Mauser
                 C-96 (1895) with a 10-round magazine; Luger
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 22              magazines (with pistol grip and shoulder stock
                 attachments).
 23
         11      Pictures of Lorenzoni system firearm depicting                        0033-0034
 24
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 25      12      Picture of the Hunt Volitional Rifle with first                       0035-0036
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  5              Genhart turret rifle which incorporated detachable
                 circular magazine
  6
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  8      16      Picture of an 1864 Robert Wilson detachable                           0043-0044
  9              magazine patent an 1855 Roland White box
                 magazine patent
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 13      18      Pictures of Winchester Model 1907 and Model                           0047-0048
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              EXHIBIT "1"




                                    Exhibit 1
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                              Exhibit 1: Ashley Hlebinsky Curriculum Vitae

   Ashley Hlebinsky

   2313 Central Avenue Unit A

   Cody, WY, 82414

   Email: theguncode@gmail.com

   Phone: 412-491-2493

   Education:

   Master of Arts, American History, University of Delaware, 2013

   Bachelor of Arts, American History, University of Delaware, 2011

      •      President: Phi Alpha Theta History Honor’s Society, 2010-2011

   Recent Honors/Awards:

   Wyoming Business Report’s Top 40 Under 40, 2017

   National Shooting Sports Foundation & Professional Outdoor Media Association’s Grits

   Gresham Shooting Sports Communicator of the Year Award, 2017

   Nominee – Wyoming’s Non-Profit Woman of Influence, 2017

   Grants:

   National Endowment for the Humanities, 2017

   Institute of Museum and Library Services, 2017

   Gretchen Swanson Family Foundation, 2015, 2016, 2017, 2018, 2019
   Kinnucan Arms Chair Grant, 2012

   Fellowships:

   Firearms Curatorial Resident, Buffalo Bill Center of the West, 2013

   Edward Ezell Fellowship, University of Delaware, 2012

   Buffalo Bill Resident Fellowship, Buffalo Bill Center of the West, 2011

   Committees and Memberships:

   Founding President – Association of Firearms History and Museums
      •      First academic association for the study of firearms history in United States



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   Founder – Arsenals of History Symposia Series

      •   First international symposia series on the academic study of firearms

   Spokesperson – NSSF/AFSP Suicide Prevention and Project ChildSafe Programs

   National Rifle Association’s Gun Collecting Committee

   American Alliance of Museums – Member

   American Society of Arms Collectors – Member

   Winchester Arms Collectors Association – Honorary

   Remington Society of Arms Collectors – Member

   Weatherby Collector’s Association –Life Member

   Selected Firearms-Related Professional Experience:

   Consultant. Adirondack Experience. November 2019

   Project Director, Cody Firearms Museum Renovation, Buffalo Bill Center of the West, Cody,

   WY, 2015-2019

   Consultant. Winchester Mystery House, August 2019.

   Consulting Scholar. National Park Service & Organization of American Historians, March 2019.

   Robert W. Woodruff Curator, Cody Firearms Museum, Buffalo Bill Center of the West, Cody,

   WY, 2015-Present

   Consulting Curator, Houston Museum of Natural Sciences, 2018 - Present

   Producer. Gun Stories with Joe Mantegna, Outdoor Channel. 2017-Present
   Consulting Producer. Brothers in Arms, History Channel. 2017

   Consultant/Curator. Daniel Defense, Black Creek, Georgia. 2017

   Consultant, National Museum of Law Enforcement and Organized Crime (Mob Museum), Las

   Vegas, NV, 2016

   Associate & Acting Curator, Cody Firearms Museum, Buffalo Bill Center of the West, Cody,

   WY, 2015

   Guest Curator. C.M. Russell Museums and Complex, 2015-2016
   Guest Curator. Cody Firearms Experience, 2015



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   Assistant Curator, Cody Firearms Museum, Buffalo Bill Center of the West, Cody, WY, 2013-

   2014

   Teaching Assistant, The Jewish Holocaust: 1933-1945, University of Delaware, 2013

   Teaching Assistant, Introduction to Military History, University of Delaware, 2012

   Teaching Assistant, History Education, University of Delaware, 2011

   Researcher/Fellow, National Museum of American History, Smithsonian Institution, 2010-2013

   Archival Assistant, University of Delaware Special Collection, 2010-2011

   Firearm Intern, Soldiers and Sailors National Memorial Hall, 2008

   Publicly Disclosed Expert Witness Testimony:

   Regina (Nova Scotia) vs Clayton, January 2019

   Garrison vs Sturm, Ruger & Company, Inc. 2018

   Selected Media Appearances:

   Co-Host. Master of Arms. Discovery Channel, 2018.

   On Camera Expert. Gun Stories with Joe Mantegna, Outdoor Channel, 2015 - Present

   Re-Occurring Expert. Mysteries at the Museum, Travel Channel, 2016-Present

   Re-Occurring Guest. Sportsmen of Colorado, Radio The Source 560 AM KLZ, 2014 - Present

   Guest. To the Best of Our Knowledge, National Public Radio, 2016

   On Camera Expert. American Genius, National Geographic, 2015

   Guest Host. Gunrunner Radio. Big Horn Radio, 2014
   Also appears on: National Public Radio, Fox News, Media, Entertainment, Arts, WorldWide,

   Women’s Outdoor News, Outdoor Life, Shooting USA, NRA News, Gun Talk Media, National

   Shooting Sports Foundation, Discovery Channel, Travel Channel, National Geographic



   Has been profiled by: The Bourbon Review, Recoil Magazine, Outdoor Life Magazine,

   Guns.com, Blue Press Magazine, and many other national news outlets.



   Selected Lectures/Panels:



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   Panelist. Firearms and Museums in the 21st Century. National Council for Public History. March

   2019.

   Scholars Roundtable. Coltvsille National Historic Site. Organization of American Historians &

   National Park Service, March 2019.

   Forum Speaker. The Art of the Hunt: Embellished Sporting Arms in America. New Orleans

   Antique Forum, August 2018

   Guest Lecturer. Unloading the Gun: Firearms, History, and Museums. Yakima Valley Museum,

   June 2018

   Guest Lecturer. Perpetrators and Protectors: The Mob, The Law and Firearms, National Museum

   of Law Enforcement and Organized Crime (Mob Museum), September 2017

   Organizer. Arsenals of History: Firearms and Museums in the 21st Century, Buffalo Bill Center

   of the West, July 2017

   Lecturer. The Cody Firearms Museum, Arsenals of History Symposium, Buffalo Bill Center of

   the West, July 2017

   Moderator. Addressing the Press: Firearms and the Media, Arsenals of History Symposium,

   Buffalo Bill Center of the West, July 2017

   Moderator. Forming an Association: Legitimizing Firearms in Academic Study, Arsenals of

   History Symposium, Buffalo Bill Center of the West, July 2017

   Guest Lecturer. Displaying the “Politically Incorrect,” C.M. Russell Museums and Complex,
   May 2017

   Guest Lecturer. Displaying the “Politically Incorrect,” Blackhawk Museum, March 2017

   Panelist. Curator Roundtable, Firearms and Common Law Symposium, Aspen Institute,

   September 2016

   Guest Lecturer. Displaying the “Politically Incorrect,” Canadian Guild of Antique Arms

   Historians, April 2016

   Guest Lecturer. The Cody Firearms Museum Renovation, American Society of Arms Collectors,
   September 2016



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   Guest Lecturer. From Protector to Perpetrator: Demystifying Firearms in History, Art Institute of

   Chicago, November 2015

   Guest Lecturer. Winchester ’73: The Illusion of Movie Making, Winchester Arms Collectors

   Association, July 2014

   Guest Lecturer. Unloading the Six Shooter: Disassembling the Glamorization and Demonization

   of Firearms in the Arts, Buffalo Bill Center of the West, 2011

   Selected Firearms Exhibitions:

   Curator/Project Director. Cody Firearms Museum Renovation. Buffalo Bill Center of the West.

   Upcoming July 6, 2019



   Co-Curator. The Art of the Hunt: Embellished Sporting Arms from 1500-1800. Houston Museum

   of Natural Sciences. March 2019



   Curator. Glock Makes History: The Birth of the Polymer Handgun Market. Buffalo Bill Center of

   the West. June 2016



   Guest Curator. Designing the American West: The Artist and the Inventor. C.M. Russell Museum

   & Complex. February 2016



   Curator. The Greatest Gun Designer in History: John Moses Browning. Buffalo Bill Center of

   the West. December 2015



   Curator. Journeying West: Distinctive Firearms from the Smithsonian Institution. Buffalo Bill

   Center of the West. December 2015



   Curator. The Forgotten Winchester: Great Basin National Park. Buffalo Bill Center of the West.
   June 2015



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   Curator. Western Firearms Gallery, including Shoot for the Stars: The Tradition of Cowboy

   Action Shooting. Buffalo Bill Center of the West. April 2015.



   Curator. Steel Sculptures: Engraving Individuality from Mass Production. Buffalo Bill Center of

   the West. Winter 2014.



   Certifications:

   NRA Certified Firearms Instructor, Basic Pistol, 2016

   NRA Certified Firearms Instructor, Personal Protection Inside the Home, 2016

   Well Armed Woman Instructor Certification, 2016

   Museum Studies Certification, University of Delaware, 2013

   Publication History

   Books:

   Co-Author. Fifty Featured Firearms at the Buffalo Bill Center of the West. Mowbray

   Publication: Rhode Island, 2017 (in process)

   Contributor. Buffalo Bill Center of the West. Buffalo Bill Center of the West: Cody, WY, 2016.

   Articles:

   Author. “Burton Light Machine Rifle.” Recoil Magazine. October, 2019
   Founder/Editor/Author. Arsenals of History Journal, Annual Publication, 2018 - Present

   Author. “It’s Complicated: The Short Answer to Firearms, Museums and History. Journal of the

   Early Republic – The Panorama, September 2018.

   Contributor. “Firearms Curator Roundtable” Technology & Culture Journal, August 2018

   Author. “Displaying the ‘Politically Incorrect.’” CLOG X Guns: Chicago, IL, September 2017

   Author. “Does History Repeat Itself? The Smith & Wesson LadySmith.” CLOG X Guns:

   Chicago, IL, September 2017
   Author. “Renovating the Cody Firearms Museum.” International Committee of Museums and



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   Collections of Arms and Military History Magazine. Issue 17, May 2017. Pg. 38 - 41

   Author. “Renovating the Cody Firearms Museum.” American Society of Arms Collectors

   Journal. Fall 2016.

   Author. “Glock Exhibit Opening.” Glock Magazine. Bang Media. Annual 2017

   Author. “The 28 Most Notable Guns from Remington’s 200-Year History.” Outdoor Life

   Magazine. Bonnier Corporation, 2016

   Author. “Cassie Waters: Businesswoman of the Old West.” Guns of the Old West. Harris

   Publications, Spring 2016

   Author. “Making History: GLOCK Pistols at the Cody Firearms Museum” Glock Magazine.

   Harris Publications. Annual 2016

   Author. “Pocket Pistols: 10 Seminal Guns from the Past 300 Years.” Pocket Pistols. Harris

   Publications. 2016

   Author. “The Gun that Won the Western and the Unforeseen Stars of Winchester ‘73” Guns of

   the Old West. Harris Publications.

   Author. “Frontier Profile: Jedediah Strong Smith” American Frontiersman. Harris Publications

   Author. “Frontier Legend John Johnston.” American Frontiersman. Harris Publications

   Author. “The Guns of John Johnston.” American Frontiersman. Harris Publications

   Author. “Annie Oakley VS Lillian Smith: A Female Sharpshooter Rivarly.” Guns of the Old

   West. Harris Publications, Spring 2015
   Author. “Icons and Has-beens.” American Handgunner. FMG Publications, 2014

   Author. “Triggering Memory: American Identity in Cowboys and Aliens.” Points West. Spring

   2012

   Author. “Unloading the Six-Shooter: Disassembling the Glamorization and Demonization of

   Firearms in the Arts.” Points West, Fall 2011.

   Columns:

   Author/Brand Ambassador. The Bourbon Review.
   Author. American Association for State and Local History. Summer 2019



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   Author. “Weird West: Fact or Fiction” Guns of the Old West. Athlon Outdoors (formerly Harris

   Publications)

   1st Assault Rifle

   Colt VS Winchester Revolver

   Did Winchester Really Win the West?

   Oliver Winchester’s Lever Action Shotgun

   Remington Cane Gun

   Author. “Cowboy Action Round Up.” SHOT Show New Products. Guns of the Old West. Athlon

   Outdoors (formerly Harris Publications). 2015, 2016, 2017

   Reviews:

   Reviewer: Edited by Jonathan Obert, Andrew Poe, and Austin Sarat. Oxford: Oxford

   UniversityPress, 2018. Journal of Technology & Culture, Fall 2019

   Author. “Everybody Loves an Outlaw: Taylor’s Outlaw Legacy Revolver Series.” Guns of the

   Old West. Harris Publications

   Reviewer: Richard Rattenbury. A Legacy in Arms: American Firearms Manufacture, Design and

   Artistry, 1800-1900. Chronicle of Oklahoma, Spring 2016

   Selected Blogs & Vlogs:

   Recoil Magazine

   Weekly video series beginning October 2017 to Present
   Dillon Precision

          Historical Videos on Ammunition (Upcoming)

   Outdoor Life

          Top 10 Guns in American History

          Guns of the Old West: 10 Iconic Firearms and the Legendary Men (and Women) Who

   Shot Them

          13 of the Biggest Gun Fails in Recent Firearms History
          Gun of the Week:



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              John Martz Luger

              Apache Revolver

              German Frei Pistol

              King Louis XV Embellished Blunderbuss

              Armalite AR-17 Shotgun

              Getting the Christmas Goose with a Goose Rifle & Cutaway Suppressor

              Mossberg Brownie

              Wesson & Leavitt Belt Revolver

              William Harnett and the Faithful Colt 1890

              Winchester Model 1894 Lever Action Rifle

              Ruger Semi-Automatic Pistol, 1 of 5,000

              Herb Parson’s Winchester Model 71 Lever Action Rifle

              Lincoln Head Hammer Gun

              American Trap Gun

              Browning Brother’s Single Shot Rifle Patent

              Feltman Pneumatic Machine Gun

              U.S. Springfield-Allin Conversion Model 1866 Trapdoor Rifle

              Winchester Wetmore-Wood Revolver

              Webley-Fosbery Automatic Revolver
              Hopkins & Allen XL3 Double Action Revolver

              DuBiel Modern Classic Rifle

              Colt Model 1877 “Thunderer” Double Action Revolver

              Tom Tobin’s Colt Model 1878 Frontier Revolver

              Walch 10-Shot Double Hammers Pocket Revolver

              Winchester Model 1887, Serial No. 1

              Deringer vs Derringer
              The Forgotten Winchester 1873 of Great Basin National Park



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   Range 365

   To the One Who Got Away

   Gun Review: New Glock 19 Gen 5

   Ain’t She a Pistol? 10 Historic Gun Ads Featuring Women

   National Shooting Sports Foundation

          The Gun Vault:

          Winchester 1873 Found in Great Basin National Park

          Col. Jeff Cooper’s Colt MK IV Series 80

          500+ Year Old Firearms, Matchlocks, Flintlocks

          U.S. Presidents Guns

          Cross Dominance Shotgun

          Herb Parson’s Winchester Model 71 Rifle

          Audie Murphy’s Colt Bisley Revolver

          4 Gauge Winchester Wildfowler

          Pocket Pistols

          Henry Ford’s Winchester Model 1887 Lever Action Shotgun

          Tom Knapp’s First Gun

          Buffalo Bill Cody’s Winchester 1873

          Colt Model 1861 Navy Serial No. 1
          Cassie Waters’ Hopkins & Allen XL3 Revolver

          Glock 17

   The Truth About Guns

          Presidential Presentation Rifles

          Factory Cut-Away M16A1

          1854 Smith & Wesson Repeating Rifle (Serial Number 8)

          Winchester World’s Fair Model 1866 Deluxe Sporting Rifle
          Raymond Wielgus Collection



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          Gastinne-Renette Muzzleloading Percussion Target Pistols

          Oliver Winchester’s Jennings Repeater

          Henry Ford’s Winchester Model 1887

          Winchester Model 1866 Musket in .44 Rimfire

          English Wheellock

          Southern Belle American Longrifle

          Annie Oakley’s Model 1892 Smoothbore Rifle

          Catherine the Great of Russia’s Blunderbuss Gift to King Louis XV of France

          Color Case-Hardened GLOCK 43: Merging the Old West with the New

   Buffalo Bill Center of the West – Unloading the Myth

          The Cody Firearms Museum – Yesterday, Today, and Tomorrow

          Guns of the Week – Christmas List

          Guns of the Week: December 15-19

          Guns of the Week – The Cody Firearms Museum

          Guns of the Week – German Firearms

          Guns of the Week – Scheutzenfest

          Guns of the Week – Air Guns

          Guns of the Week – Early Firearms Law

          Guns of the Week – October 13-17
          Guns of the Week – Ingenious Engineering

          Guns of the Week – Remington – Smoot

          Guns of the Week – September 22-26

          Guns of the Week – September 15-19

          Guns of the Week – September 8 -12

          CSI: Firearms Museum Edition

          Confessions of a Gun Historian
          Art Guns: Aesthetics Over Function?



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          What Good’s a Gun Without a Firing Pin?

          Gun Installations, Trials & Tribulations

          A True Test of Marital Trust and Love

          Remembering Tom Knapp

          Cody Firearms Museum Goes Hollywood

          When Will My Firearms Go On Display

          What’s Your Cody Firearms Museum

          To Vlog or Not to Vlog

          We Don’t Just Have Old Guns in Our Museum: SHOT Show 2014

          Taking a Staba at Displaying More Guns

          “Hi Yo Silver” Cook Away! Lone Ranger Display

   The Shooting Wire

   Winchester’s 150th Anniversary Website

   Remington’s 200th Anniversary Website




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              EXHIBIT "2"




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              EXHIBIT "3"




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              EXHIBIT "4"




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              EXHIBIT "5"




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              EXHIBIT "6"




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              EXHIBIT "7"




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              EXHIBIT "8"




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